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 DEFENDANT:      Kent Thiry

 YOB:            1956

 COMPLAINT       ______ Yes      __X___ No
 FILED?
                 If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                 __ Yes    __ No


 OFFENSE(S):     Count 1: Conspiracy in Restraint of Trade to Allocate Employees
                 (15 U.S.C. § 1)

                 Count 2: Conspiracy in Restraint of Trade to Allocate Employees
                 (15 U.S.C. § 1)

 LOCATION OF     State and District of Colorado and elsewhere
 OFFENSE:

 PENALTY:        Count 1: Term of imprisonment not exceeding 10 years; fine equal
                 to greatest of $1 million or twice the gross gain or twice the gross
                 loss; or both imprisonment and a fine

                 Term of supervised release not exceeding 3 years

                 $100 special assessment

                 Count 2: Term of imprisonment not exceeding 10 years; fine equal
                 to greatest of 1) $1 million, 2) twice the gain the conspirators
                 derived from the crime, or 3) twice the loss caused to the victims; or
                 both imprisonment and a fine

                 Term of supervised release not exceeding 3 years

                 $100 special assessment


 AGENT:          Matthew Hamel
                 FBI

 AUTHORIZED      William J. Vigen
 BY:             Trial Attorney
                 U.S. Department of Justice, Antitrust Division




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ESTIMATED TIME OF TRIAL:

   five days or less; _X__ over five days

THE GOVERNMENT

   will seek detention in this case based on 18 U.S.C. § 3142(f)([1 or 2])

The statutory presumption of detention is not applicable to this defendant.




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